              Case 22-58457-pmb                    Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                Desc Main
                                                               Document     Page 1 of 52                                                                10/20/22 3:13PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Kiara
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Tatiana
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Bernal Valenzuela
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years Kiara Ulloa
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7722
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 1
              Case 22-58457-pmb                 Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                              Desc Main
                                                            Document     Page 2 of 52                                                            10/20/22 3:13PM

Debtor 1   Kiara Tatiana Bernal Valenzuela                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3030 Continental Colony Parkway
                                 Apt 705
                                 Atlanta, GA 30331
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Fulton
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 Post Office Box 1202
                                 Mableton, GA 30126
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                       petition, I have lived in this district longer than            have lived in this district longer than in any other
                                       in any other district.                                         district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case 22-58457-pmb                  Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                Desc Main
                                                              Document     Page 3 of 52                                                              10/20/22 3:13PM

Debtor 1    Kiara Tatiana Bernal Valenzuela                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
              Case 22-58457-pmb                  Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                            Desc Main
                                                               Document     Page 4 of 52                                                          10/20/22 3:13PM

Debtor 1    Kiara Tatiana Bernal Valenzuela                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    debtor or a debtor as          U.S.C. § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small                  I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11           No.
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code,
                                               and I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
              Case 22-58457-pmb                    Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                             Desc Main
                                                               Document     Page 5 of 52                                                           10/20/22 3:13PM

Debtor 1    Kiara Tatiana Bernal Valenzuela                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 22-58457-pmb                 Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                  Desc Main
                                                            Document     Page 6 of 52                                                               10/20/22 3:13PM

Debtor 1    Kiara Tatiana Bernal Valenzuela                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                         $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities                                                       $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Kiara Tatiana Bernal Valenzuela
                                 Kiara Tatiana Bernal Valenzuela                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 20, 2022                                 Executed on
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
             Case 22-58457-pmb                    Doc 1          Filed 10/20/22 Entered 10/20/22 15:18:07                            Desc Main
                                                                 Document     Page 7 of 52                                                          10/20/22 3:13PM

Debtor 1   Kiara Tatiana Bernal Valenzuela                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael F. Burrow                                              Date         October 20, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael F. Burrow 317998
                                Printed name

                                Burrow & Associates, LLC
                                Firm name

                                2280 Satellite Blvd.
                                Bldg. A, Suite 100
                                Duluth, GA 30097
                                Number, Street, City, State & ZIP Code

                                Contact phone     678-942-8640                               Email address         bankruptcy@legalatlanta.com
                                317998 GA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
             Case 22-58457-pmb                  Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                    Desc Main
                                                            Document     Page 8 of 52                                                                 10/20/22 3:13PM




Fill in this information to identify your case:

Debtor 1                 Kiara Tatiana Bernal Valenzuela
                         First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                   Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                         Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                         lived there                                                                        lived there
       6632 Songwood Drive                               From-To:                         Same as Debtor 1                                     Same as Debtor 1
       Austell, GA 30168                                 1/2018-10/20                                                                       From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                              Debtor 1                                                       Debtor 2
                                              Sources of income               Gross income                   Sources of income              Gross income
                                              Check all that apply.           (before deductions and         Check all that apply.          (before deductions
                                                                              exclusions)                                                   and exclusions)

From January 1 of current year until             Wages, commissions,                      $18,697.79            Wages, commissions,
the date you filed for bankruptcy:                                                                           bonuses, tips
                                              bonuses, tips
                                                 Operating a business                                            Operating a business

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
           Case 22-58457-pmb                      Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                    Desc Main
                                                              Document     Page 9 of 52                                                               10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                           Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income             Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                exclusions)                                                  and exclusions)

For last calendar year:                            Wages, commissions,                        $3,757.00           Wages, commissions,
(January 1 to December 31, 2021 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                            Operating a business


                                                   Wages, commissions,                        $8,000.00           Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                            Operating a business


For the calendar year before that:                 Wages, commissions,                        $1,425.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                            Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income             Gross income
                                                Describe below.                 each source                    Describe below.               (before deductions
                                                                                (before deductions and                                       and exclusions)
                                                                                exclusions)

Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                an attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
           Case 22-58457-pmb                     Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                     Desc Main
                                                            Document      Page 10 of 52                                                                 10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                          Case number (if known)



      Creditor's Name and Address                         Dates of payment              Total amount          Amount you          Was this payment for ...
                                                                                                paid            still owe
      The Woods                                           10/2022 $918.00                  $2,754.00                     $0.00      Mortgage
      3030 Continental Colony Parkway                     09/2022 $918.00                                                           Car
      Atlanta, GA 30331                                   08/2022 $918.00                                                           Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other Residential Lease


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
     including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
     support and alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you          Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you          Reason for this payment
                                                                                                paid            still owe         Include creditor's name

Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                            Status of the case
      Case number
      Danco Financial                                     Garnishment                  Magistrate Court of Fulton                    Pending
      VS                                                                               County                                        On appeal
      Kiara Ulloa                                                                      185 Central Ave.
                                                                                                                                     Concluded
      22MCG070193                                                                      Atlanta, GA 30303


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                            Date                        Value of the
                                                                                                                                                          property
                                                          Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                            Date action was                 Amount
                                                                                                                           taken


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 3
           Case 22-58457-pmb                     Doc 1          Filed 10/20/22 Entered 10/20/22 15:18:07                                      Desc Main
                                                               Document      Page 11 of 52                                                             10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                             Case number (if known)



12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                  Describe the gifts                                        Dates you gave                   Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total              Describe what you contributed                             Dates you                        Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List                   loss                              lost
                                                         pending insurance claims on line 33 of Schedule A/B:
                                                         Property.
      2000 Cheverolet Silverado,                         None                                                               6/11/2022                  $2,500.00
      Stolen


Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Stretto                                                     $20.00 Credit Counseling Fee                              9/22/2022                      $48.00
      4540 Honeywell Court                                        $28.00 Credit Report
      Dayton, OH 45424
      Burrow And Associates, LLC




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
           Case 22-58457-pmb                         Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                                      Desc Main
                                                               Document      Page 12 of 52                                                              10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                             Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                Description and value of                    Describe any property or          Date transfer was
      Address                                                     property transferred                        payments received or debts        made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                               Description and value of the property transferred                             Date Transfer was
                                                                                                                                                made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was               Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,              before closing or
      Code)                                                                                                           moved, or                           transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                               Who else had access to it?              Describe the contents                   Do you still
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City,                                                  have it?
                                                                  State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                    Who else has or had access              Describe the contents                   Do you still
      Address (Number, Street, City, State and ZIP Code)          to it?                                                                          have it?
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
           Case 22-58457-pmb                      Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                    Desc Main
                                                             Document      Page 13 of 52                                                           10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                              Case number (if known)



Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                              Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)        (Number, Street, City, State and ZIP
                                                                Code)

Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                Court or agency                            Nature of the case                 Status of the
      Case Number                                               Name                                                                          case
                                                                Address (Number, Street, City,
                                                                State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
            Case 22-58457-pmb                       Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                                Desc Main
                                                               Document      Page 14 of 52                                                           10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                             Case number (if known)



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business               Employer Identification number
       Address                                                                                                 Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
       Kiara Tatiana Bernal Valenzuela                       Cleaning                                          EIN:
       Post Office Box 1202
       Mableton, GA 30126                                                                                      From-To 1/2018-12/2021


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Kiara Tatiana Bernal Valenzuela
Kiara Tatiana Bernal Valenzuela                                       Signature of Debtor 2
Signature of Debtor 1

Date      October 20, 2022                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
              Case 22-58457-pmb                  Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                      Desc Main
                                                             Document      Page 15 of 52                                                                   10/20/22 3:13PM


Fill in this information to identify your case and this filing:

Debtor 1                    Kiara Tatiana Bernal Valenzuela
                            First Name                Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                Middle Name                    Last Name

United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

Case number                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Nissan                             Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
          Model:      Maxima                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
          Year:       2001                                  Debtor 2 only                                           Current value of the       Current value of the
          Approximate mileage:           250000             Debtor 1 and Debtor 2 only                              entire property?           portion you own?
          Other information:                                At least one of the debtors and another


                                                            Check if this is community property                              $2,480.00                    $2,480.00
                                                             (see instructions)



  3.2     Make:       Chevrolet                          Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
          Model:      Surburban                             Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
          Year:       1996                                  Debtor 2 only                                           Current value of the       Current value of the
          Approximate mileage:           300000             Debtor 1 and Debtor 2 only                              entire property?           portion you own?
          Other information:                                At least one of the debtors and another


                                                            Check if this is community property                              $2,520.00                    $2,520.00
                                                             (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 1
           Case 22-58457-pmb                       Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                                      Desc Main
                                                                Document      Page 16 of 52                                                                10/20/22 3:13PM

Debtor 1      Kiara Tatiana Bernal Valenzuela                                                                    Case number (if known)


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>            $5,000.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                  Furniture, Appliances, and Household Goods                                                                               $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                  Electronics                                                                                                              $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                                  9mm Pistol                                                                                                                 $150.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                  Wearing Apparel                                                                                                            $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                  Jewelry                                                                                                                    $150.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 2
           Case 22-58457-pmb                                   Doc 1            Filed 10/20/22 Entered 10/20/22 15:18:07                             Desc Main
                                                                               Document      Page 17 of 52                                                       10/20/22 3:13PM

Debtor 1        Kiara Tatiana Bernal Valenzuela                                                                             Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                         Dog                                                                                                                       $150.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $4,700.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                           17.1.      Checking                               Truist                                                                  $10.00



                                           17.2.      Savings                                Truist                                                                  $10.00



                                           17.3.      Checking                               Wells Fargo                                                             $50.00



                                           17.4.      Savings                                Wells Fargo                                                             $10.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
Official Form 106A/B                                                                  Schedule A/B: Property                                                           page 3
           Case 22-58457-pmb                         Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                               Desc Main
                                                                Document      Page 18 of 52                                                         10/20/22 3:13PM

Debtor 1       Kiara Tatiana Bernal Valenzuela                                                              Case number (if known)

      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
            Case 22-58457-pmb                             Doc 1          Filed 10/20/22 Entered 10/20/22 15:18:07                                             Desc Main
                                                                        Document      Page 19 of 52                                                                       10/20/22 3:13PM

Debtor 1        Kiara Tatiana Bernal Valenzuela                                                                                 Case number (if known)

       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                       Beneficiary:                              Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................             $180.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 5
            Case 22-58457-pmb                              Doc 1           Filed 10/20/22 Entered 10/20/22 15:18:07                                             Desc Main
                                                                          Document      Page 20 of 52                                                                   10/20/22 3:13PM

Debtor 1         Kiara Tatiana Bernal Valenzuela                                                                                   Case number (if known)

Part 8:        List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................                $0.00
56. Part 2: Total vehicles, line 5                                                                          $5,000.00
57. Part 3: Total personal and household items, line 15                                                     $4,700.00
58. Part 4: Total financial assets, line 36                                                                  $180.00
59. Part 5: Total business-related property, line 45                                                            $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                          +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                     $9,880.00            Copy personal property total          $9,880.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $9,880.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                        page 6
             Case 22-58457-pmb                   Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                               Desc Main
                                                             Document      Page 21 of 52                                                            10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1               Kiara Tatiana Bernal Valenzuela
                       First Name                      Middle Name                 Last Name

Debtor 2
(Spouse if, filing)    First Name                      Middle Name                 Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     2001 Nissan Maxima 250000 miles                             $2,480.00                                  $2,480.00     O.C.G.A. § 44-13-100(a)(3)
     Line from Schedule A/B: 3.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     1996 Chevrolet Surburban 300000                             $2,520.00                                  $2,520.00     O.C.G.A. § 44-13-100(a)(3)
     miles
     Line from Schedule A/B: 3.2                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Furniture, Appliances, and                                  $2,500.00                                  $2,500.00     O.C.G.A. § 44-13-100(a)(4)
     Household Goods
     Line from Schedule A/B: 6.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Electronics                                                 $1,500.00                                  $1,500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     9mm Pistol                                                      $150.00                                  $150.00     O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 10.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
           Case 22-58457-pmb                    Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                  Desc Main
                                                            Document      Page 22 of 52                                                               10/20/22 3:13PM


Debtor 1    Kiara Tatiana Bernal Valenzuela                                                        Case number (if known)

    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Wearing Apparel                                                $250.00                                   $250.00        O.C.G.A. § 44-13-100(a)(4)
    Line from Schedule A/B: 11.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Jewelry                                                        $150.00                                   $150.00        O.C.G.A. § 44-13-100(a)(5)
    Line from Schedule A/B: 12.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Dog                                                            $150.00                                   $150.00        O.C.G.A. § 44-13-100(a)(4)
    Line from Schedule A/B: 13.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Cash                                                           $100.00                                   $100.00        O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 16.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Truist                                                $10.00                                     $10.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Savings: Truist                                                 $10.00                                     $10.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.2
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Wells Fargo                                           $50.00                                     $50.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.3
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Savings: Wells Fargo                                            $10.00                                     $10.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.4
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 22-58457-pmb                   Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                     Desc Main
                                                             Document      Page 23 of 52                                                                   10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1                Kiara Tatiana Bernal Valenzuela
                        First Name                     Middle Name                   Last Name

Debtor 2
(Spouse if, filing)     First Name                     Middle Name                   Last Name

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                 Check if this is an
                                                                                                                                           amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.




Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
              Case 22-58457-pmb                        Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                            Desc Main
                                                                   Document      Page 24 of 52                                                                          10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1                     Kiara Tatiana Bernal Valenzuela
                             First Name                     Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                     Middle Name                       Last Name

United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                              Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority            Nonpriority
                                                                                                                                             amount              amount
2.1          Georgia Department of Revenue                        Last 4 digits of account number                                    $0.00              $0.00                  $0.00
             Priority Creditor's Name
             Compliance Division                                  When was the debt incurred?
             ARCS Bankruptcy
             1800 Century Blvd. NE, Suite 9100
             Atlanta, GA 30345-3202
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                        Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 4
                                                                                                               41891
            Case 22-58457-pmb                        Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                                            Desc Main
                                                                  Document      Page 25 of 52                                                                           10/20/22 3:13PM

Debtor 1 Kiara Tatiana Bernal Valenzuela                                                                Case number (if known)

2.2        Internal Revenue Service                              Last 4 digits of account number                                  $0.00                $0.00                  $0.00
           Priority Creditor's Name
           P.O. Box 7346                                         When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                            Contingent
           Debtor 1 only                                            Unliquidated
           Debtor 2 only                                            Disputed
           Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

           At least one of the debtors and another                  Domestic support obligations

           Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                              Claims for death or personal injury while you were intoxicated
           No                                                       Other. Specify
           Yes                                                                         Notice Only


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

4.1        Aaron's Sales & Lease                                    Last 4 digits of account number        0669                                                              $0.00
           Nonpriority Creditor's Name
           Attn: Legal Dept                                                                                Opened 09/14 Last Active
           400 Galleria Pkwy Se, Suite 300                          When was the debt incurred?            03/15
           Atlanta, GA 30339
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify    Lease




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 2 of 4
           Case 22-58457-pmb                      Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                                            Desc Main
                                                               Document      Page 26 of 52                                                                 10/20/22 3:13PM

Debtor 1 Kiara Tatiana Bernal Valenzuela                                                             Case number (if known)

4.2       Capital One                                            Last 4 digits of account number       2513                                                     $0.00
          Nonpriority Creditor's Name
          Attn: Bnakruptcy                                                                             Opened 05/17 Last Active
          P.O. Box 30285                                         When was the debt incurred?           3/31/21
          Salt Lake City, UT 84130
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.3       Danco Financial Services                               Last 4 digits of account number                                                           $8,546.94
          Nonpriority Creditor's Name
          5604 Wendy Bagwell Parkway                             When was the debt incurred?
          Suite 923
          Hiram, GA 30141
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Account


4.4       Georgia Auto Pawn                                      Last 4 digits of account number                                                           $3,000.00
          Nonpriority Creditor's Name
          1911 W Broad St                                        When was the debt incurred?
          Athens, GA 30606
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 4
           Case 22-58457-pmb                          Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                            Desc Main
                                                                  Document      Page 27 of 52                                                                    10/20/22 3:13PM

Debtor 1 Kiara Tatiana Bernal Valenzuela                                                                  Case number (if known)

4.5       HORTENCIA VALENZUELA                                      Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          5284 Floyd Road                                           When was the debt incurred?
          Mableton, GA 30126
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
             Debtor 1 only
                                                                         Unliquidated
             Debtor 2 only
                                                                         Disputed
             Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                     Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify


Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Danco Financial Services                                      Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
c/o Dunlap Gardiner LLP                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
5604 Wendy Bagwell Parkway #923
Hiram, GA 30141
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Dunlap Gardiner LLP                                           Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
3009 Chapel Hill Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Suite B
Douglasville, GA 30135
                                                              Last 4 digits of account number


Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                  Total Claim
                        6a.   Domestic support obligations                                                   6a.       $                          0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                           6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                       6e.       $                          0.00

                                                                                                                                  Total Claim
                        6f.   Student loans                                                                  6f.       $                          0.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                     11,546.94

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                    6j.       $                     11,546.94




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 4 of 4
              Case 22-58457-pmb                        Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                         Desc Main
                                                                    Document      Page 28 of 52                                                      10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1                  Kiara Tatiana Bernal Valenzuela
                          First Name                         Middle Name           Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name           Last Name

United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      The Woods                                                                  Residential Lease
              3030 Continental Colony Parkway
              Atlanta, GA 30331




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
             Case 22-58457-pmb                           Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07              Desc Main
                                                                      Document      Page 29 of 52                                          10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1                   Kiara Tatiana Bernal Valenzuela
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
     fill out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




   3.2                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
             Case 22-58457-pmb                    Doc 1    Filed 10/20/22 Entered 10/20/22 15:18:07                             Desc Main
                                                          Document      Page 30 of 52                                                         10/20/22 3:13PM




Fill in this information to identify your case:

Debtor 1                      Kiara Tatiana Bernal Valenzuela

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                            Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                          13 income as of the following date:

Official Form 106I                                                                                        MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                              Not employed
       employers.
                                             Occupation            CRS
       Include part-time, seasonal, or
       self-employed work.                                         Southeastern Automotive
                                             Employer's name       Warehouse
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   460 Decatur Street SE
                                                                   Atlanta, GA 30312

                                             How long employed there?         1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        2,005.00      $              0.00

3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      2,005.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
           Case 22-58457-pmb                Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                                Desc Main
                                                      Document      Page 31 of 52                                                                10/20/22 3:13PM




Debtor 1   Kiara Tatiana Bernal Valenzuela                                                       Case number (if known)



                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $         2,005.00      $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           172.00      $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00      $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.     $             0.00      $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.     $             0.00      $               0.00
     5e.    Insurance                                                                     5e.     $             0.00      $               0.00
     5f.    Domestic support obligations                                                  5f.     $             0.00      $               0.00
     5g.    Union dues                                                                    5g.     $             0.00      $               0.00
     5h.    Other deductions. Specify:                                                    5h.+    $             0.00 +    $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            172.00      $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,833.00      $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.     $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.     $              0.00     $               0.00
     8e. Social Security                                                                  8e.     $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                  0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $           1,833.00 + $             0.00 = $           1,833.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $           1,833.00
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                       page 2
         Case 22-58457-pmb                       Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                                  Desc Main
                                                           Document      Page 32 of 52                                                               10/20/22 3:13PM




Fill in this information to identify your case:

Debtor 1                 Kiara Tatiana Bernal Valenzuela                                                    Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             1                   Yes
                                                                                                                                            No
                                                                                   Son                                  3                   Yes
                                                                                                                                            No
                                                                                   Son                                  4                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            918.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
        Case 22-58457-pmb                       Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                        Desc Main
                                                            Document      Page 33 of 52                                                                      10/20/22 3:13PM




Debtor 1     Kiara Tatiana Bernal Valenzuela                                                            Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    100.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                      0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    155.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   350.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    50.00
10.   Personal care products and services                                                   10. $                                                     25.00
11.   Medical and dental expenses                                                           11. $                                                     10.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                     75.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    145.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       1,828.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       1,828.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               1,833.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              1,828.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                     5.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
           Case 22-58457-pmb                     Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                               Desc Main
                                                              Document      Page 34 of 52                                                    10/20/22 3:13PM




                                                          United States Bankruptcy Court
                                                                Northern District of Georgia
In re      Kiara Tatiana Bernal Valenzuela                                                                      Case No.
                                                                               Debtor(s)                        Chapter    7


                                              BUSINESS INCOME AND EXPENSES
        FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
         1. Gross Income For 12 Months Prior to Filing:                                                     $                  0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
         2. Gross Monthly Income                                                                                                  $                 0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
         3. Net Employee Payroll (Other Than Debtor)                                                        $                  0.00
         4. Payroll Taxes                                                                                                      0.00
         5. Unemployment Taxes                                                                                                 0.00
         6. Worker's Compensation                                                                                              0.00
         7. Other Taxes                                                                                                        0.00
         8. Inventory Purchases (Including raw materials)                                                                      0.00
         9. Purchase of Feed/Fertilizer/Seed/Spray                                                                             0.00
         10. Rent (Other than debtor's principal residence)                                                                    0.00
         11. Utilities                                                                                                         0.00
         12. Office Expenses and Supplies                                                                                      0.00
         13. Repairs and Maintenance                                                                                           0.00
         14. Vehicle Expenses                                                                                                  0.00
         15. Travel and Entertainment                                                                                          0.00
         16. Equipment Rental and Leases                                                                                       0.00
         17. Legal/Accounting/Other Professional Fees                                                                          0.00
         18. Insurance                                                                                                         0.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                                                  0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                 DESCRIPTION                                                                     TOTAL

         21. Other (Specify):

                 DESCRIPTION                                                                     TOTAL

         22. Total Monthly Expenses (Add items 3-21)                                                                              $                 0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
         23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                            $                 0.00
             Case 22-58457-pmb             Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                            Desc Main
                                                        Document      Page 35 of 52                                                        10/20/22 3:13PM




Fill in this information to identify your case:

Debtor 1                 Kiara Tatiana Bernal Valenzuela
                         First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Kiara Tatiana Bernal Valenzuela                               X
             Kiara Tatiana Bernal Valenzuela                                   Signature of Debtor 2
             Signature of Debtor 1

             Date     October 20, 2022                                         Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
             Case 22-58457-pmb                           Doc 1         Filed 10/20/22 Entered 10/20/22 15:18:07                                                  Desc Main
                                                                      Document      Page 36 of 52                                                                              10/20/22 3:13PM


Fill in this information to identify your case:

Debtor 1                  Kiara Tatiana Bernal Valenzuela
                          First Name                           Middle Name                         Last Name

Debtor 2
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $               9,880.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $               9,880.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              11,546.94


                                                                                                                                 Your total liabilities $                   11,546.94


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               1,833.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               1,828.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
           Case 22-58457-pmb                  Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                             Desc Main
                                                        Document      Page 37 of 52                                                   10/20/22 3:13PM

Debtor 1    Kiara Tatiana Bernal Valenzuela                                            Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                  1,366.58


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
            Case 22-58457-pmb                                 Doc 1           Filed 10/20/22 Entered 10/20/22 15:18:07                                                Desc Main
                                                                             Document      Page 38 of 52                                                                          10/20/22 3:13PM

B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       Bernal Valenzuela, Kiara Tatiana                                                                                                      Case No.
                                                                                                          Debtor(s)                                Chapter    7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                                                      $                  1,400.00
              Prior to the filing of this statement I have received                                                                            $                      0.00
              Balance Due                                                                                                                      $                  1,400.00

2.     Additional amounts due:

            Court Filing Fee ...............................................................................................................   $                   338.00

            Credit Counseling Fee ......................................................................................................       $                    20.00

            Credit Report Fee .............................................................................................................    $                    28.00

            Total Balance Due on Fees ............................................................................................             $              1,786.00

3.     The source of the compensation paid to me was:
                    Debtor                     Other (specify):

4.     The source of compensation to be paid to me is:
                    Debtor                     Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption Planning
                 Stopping creditor actions against Client
                 Negotiations with secured creditors to reduce to market value
                 Preparation and filing of Reaffirmation Agreements and Applications
                 Change of Address Filings

                    Representation at the meeting of creditors and confirmation hearings may be by an attorney on staff with Burrow
                    & Associates, LLC or an attorney with whom Burrow & Associates, LLC has contracted to provide services.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Filing any Judicial Lien Avoidances
               Filing any Lien Avoidances on Household Goods
               Filing any Motions to Redeem Property
               Representation of the Debtor in any Adversary Proceedings
               Representation of the Debtor in any Dischargeability Actions
               Representation of the Debtor in any Motion Hearings
               Representation of the Debtor at any Rule 2004 Examination
               Representation of the Debtor in any Fraudlent Transfer Actions
               Representation of the Debtor in any Trustee's Motion to Dismiss Actions
               Representation of the Debtor in any Complaint to Avoid Transfer of Property
               Representation of the Debtor in any Stay Relief Actions


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            Case 22-58457-pmb                         Doc 1           Filed 10/20/22 Entered 10/20/22 15:18:07                     Desc Main
                                                                     Document      Page 39 of 52                                                 10/20/22 3:13PM



 In re       Bernal Valenzuela, Kiara Tatiana                                                             Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
8.       Client desires to file a petition under Chapter 7 of the Bankruptcy Code. Client is unable to pay the Attorney fee in full prior to filing the case.
         Client acknowledges that there is a split of authority nationwide regarding the propriety of accepting post-petition payments for Chapter 7
         attorney fees. Client further acknowledges that the Northern District of Georgia is in the minority of the Courts that does allow these
         post-petition payments.
         Client has agreed to allow the attorney fees to be paid in installments commencing on the date set forth in the agreement between Client and
         Burrow & Associates, LLC. Client agrees that the fees shall be deducted from Client's bank account at a frequency and amount specified in
         the agreement between Client and Burrow & Associates, LLC until paid in full.
         Client agrees that if garnished funds are recovered by Burrow & Associates, LLC on behalf of Client, those funds shall be first applied to the
         balance owed on Attorney fees and the remainder will be paid to the Client. Client agrees to cooperate in the processing of any check
         regarding the recovered funds.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 7, 2022                                                            /s/ Michael F. Burrow
     Date                                                                       Michael F. Burrow 317998
                                                                                Signature of Attorney
                                                                                Burrow & Associates, LLC
                                                                                2280 Satellite Blvd.
                                                                                Bldg. A, Suite 100
                                                                                Duluth, GA 30097
                                                                                678-942-8640 Fax: 678-745-0412
                                                                                bankruptcy@legalatlanta.com
                                                                                Name of law firm




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             Case 22-58457-pmb              Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                       Desc Main
                                                        Document      Page 40 of 52                                                   10/20/22 3:13PM




Fill in this information to identify your case:

Debtor 1               Kiara Tatiana Bernal Valenzuela
                       First Name                 Middle Name               Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name               Last Name

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                              Check if this is an
                                                                                                                        amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                           12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No


Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
            Case 22-58457-pmb              Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                                Desc Main
                                                     Document      Page 41 of 52                                                         10/20/22 3:13PM




Debtor 1      Kiara Tatiana Bernal Valenzuela                                              Case number (if known)


    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of                                               Reaffirmation Agreement.
    property                                                     Retain the property and [explain]:
    securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:            The Woods                                                                                    No

                                                                                                                       Yes

Description of leased     Residential Lease
Property:


Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Kiara Tatiana Bernal Valenzuela                                X
      Kiara Tatiana Bernal Valenzuela                                        Signature of Debtor 2
      Signature of Debtor 1

      Date       October 20, 2022                                        Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                      page 2
    Case 22-58457-pmb   Doc 1 Filed 10/20/22 Entered 10/20/22 15:18:07   Desc Main
                             Document
                        Bernal  Valenzuela,Page Kiara
                                                42 of 52-


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                        Aaron's Sales & Lease
                        Attn: Legal Dept
                        400 Galleria Pkwy Se, Suite 300
                        Atlanta, GA 30339



                        Capital One
                        Attn: Bnakruptcy
                        P.O. Box 30285
                        Salt Lake City, UT 84130



                        Danco Financial Services
                        5604 Wendy Bagwell Parkway
                        Suite 923
                        Hiram, GA 30141



                        Danco Financial Services
                        c/o Dunlap Gardiner LLP
                        5604 Wendy Bagwell Parkway #923
                        Hiram, GA 30141



                        Dunlap Gardiner LLP
                        3009 Chapel Hill Road
                        Suite B
                        Douglasville, GA 30135



                        Georgia Auto Pawn
                        1911 W Broad St
                        Athens, GA 30606



                        Georgia Department of Revenue
                        Compliance Division
                        ARCS Bankruptcy
                        1800 Century Blvd. NE, Suite 9100
                        Atlanta, GA 30345-3202



                        HORTENCIA VALENZUELA
                        5284 Floyd Road
                        Mableton, GA 30126
Case 22-58457-pmb   Doc 1 Filed 10/20/22 Entered 10/20/22 15:18:07   Desc Main
                         Document
                    Bernal  Valenzuela,Page Kiara
                                            43 of 52-



                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346



                    The Woods
                    3030 Continental Colony Parkway
                    Atlanta, GA 30331
         Case 22-58457-pmb              Doc 1     Filed 10/20/22 Entered 10/20/22 15:18:07                        Desc Main
                                                 Document      Page 44 of 52                                                   10/20/22 3:13PM




                                              United States Bankruptcy Court
                                                    Northern District of Georgia
 In re   Kiara Tatiana Bernal Valenzuela                                                       Case No.
                                                                   Debtor(s)                   Chapter      7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: October 20, 2022                                 /s/ Kiara Tatiana Bernal Valenzuela
                                                       Kiara Tatiana Bernal Valenzuela
                                                       Signature of Debtor
              Case 22-58457-pmb                   Doc 1        Filed 10/20/22 Entered 10/20/22 15:18:07                                          Desc Main
                                                              Document      Page 45 of 52                                                                        10/20/22 3:13PM




Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1              Kiara Tatiana Bernal Valenzuela
Debtor 2                                                                                                     1. There is no presumption of abuse
(Spouse, if filing)

United States Bankruptcy Court for the:         Northern District of Georgia                                 2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
Case number
(if known)
                                                                                                             3. The Means Test does not apply now because of
                                                                                                                qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:          Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                           1,366.58        $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00       $              0.00
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00       $              0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00       $              0.00
                                                                                                         $               0.00       $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                             page 1
            Case 22-58457-pmb                  Doc 1      Filed 10/20/22 Entered 10/20/22 15:18:07                                       Desc Main
                                                         Document      Page 46 of 52                                                                   10/20/22 3:13PM


Debtor 1     Kiara Tatiana Bernal Valenzuela                                                       Case number (if known)



                                                                                               Column A                     Column B
                                                                                               Debtor 1                     Debtor 2 or
                                                                                                                            non-filing spouse
  8. Unemployment compensation                                                                 $                  0.00      $             0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                     $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence,
      do not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any
      retired pay paid under chapter 61 of title 10, then include that pay only to the extent
      that it does not exceed the amount of retired pay to which you would otherwise be
      entitled if retired under any provision of title 10 other than chapter 61 of that title. $                  0.00      $             0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
              .                                                                                $                  0.00      $             0.00
                                                                                               $                  0.00      $             0.00
                Total amounts from separate pages, if any.                                 + $                    0.00      $             0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $      1,366.58          +$              0.00     =$       1,366.58

                                                                                                                                           Total current monthly
                                                                                                                                           income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                           Copy line 11 here=>              $       1,366.58

             Multiply by 12 (the number of months in a year)                                                                                  x 12
      12b. The result is your annual income for this part of the form                                                              12b. $        16,398.96

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    5
      Fill in the median family income for your state and size of household.                                                       13.    $    106,522.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Kiara Tatiana Bernal Valenzuela
               Kiara Tatiana Bernal Valenzuela
               Signature of Debtor 1

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 2
           Case 22-58457-pmb                  Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                Desc Main
                                                         Document      Page 47 of 52                                     10/20/22 3:13PM


Debtor 1   Kiara Tatiana Bernal Valenzuela                                               Case number (if known)

       Date October 20, 2022
            MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                           page 3
           Case 22-58457-pmb          Doc 1    Filed 10/20/22 Entered 10/20/22 15:18:07                  Desc Main
                                              Document      Page 48 of 52                                       10/20/22 3:13PM


Debtor 1   Kiara Tatiana Bernal Valenzuela                                      Case number (if known)




                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 04/01/2022 to 09/30/2022.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Southeastern Automotive
Year-to-Date Income:
Starting Year-to-Date Income: $0.00 from check dated     3/31/2022 .
Ending Year-to-Date Income: $5,025.67 from check dated      9/30/2022     .
Income for six-month period (Ending-Starting): $5,025.67 .
Average Monthly Income: $837.61 .



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Vie De France Yamazaki
Year-to-Date Income:
Starting Year-to-Date Income: $10,498.33 from check dated       3/31/2022 .
Ending Year-to-Date Income: $13,672.12 from check dated        9/30/2022 .
Income for six-month period (Ending-Starting): $3,173.79 .
Average Monthly Income: $528.97 .




Official Form 122A-1                    Chapter 7 Statement of Your Current Monthly Income                           page 4
          Case 22-58457-pmb                     Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                      Desc Main
                                                           Document      Page 49 of 52                                                10/20/22 3:13PM




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:        Liquidation
This notice is for you if:
                                                                                                  $245   filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338   total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                      page 1
          Case 22-58457-pmb                     Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                           Desc Main
                                                           Document      Page 50 of 52                                                     10/20/22 3:13PM




       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property, you
You must file Chapter 7 Statement of Your Current                                         must list it on Schedule C: The Property You Claim as
Monthly Income (Official Form 122A–1) if you are an                                       Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                       $1,167   filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on                                                $1,738   total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                    but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 2
          Case 22-58457-pmb                     Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                          Desc Main
                                                           Document      Page 51 of 52                                                       10/20/22 3:13PM



       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file. Only
           an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
           what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
           and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that many
           people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
           inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family                                                     repay your creditors all or part of the money that you
            farmers or fishermen                                                          owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                 $200      filing fee                                                     years or 5 years, depending on your income and other
+                 $78      administrative fee                                             factors.
                 $278      total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235      filing fee                                                            debts for fraud or defalcation while acting in a
+                 $78      administrative fee                                                    fiduciary capacity,
                 $313      total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge some                                         bankruptcy papers,
debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar                                              certain debts for acts that caused death or
amounts set forth in 11 U.S.C. § 109.                                                            personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 3
          Case 22-58457-pmb                     Doc 1       Filed 10/20/22 Entered 10/20/22 15:18:07                          Desc Main
                                                           Document      Page 52 of 52                                                    10/20/22 3:13PM



                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint case,
                                                                                          both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
Bankruptcy crimes have serious consequences                                               before you file your bankruptcy petition. This briefing is
                                                                                          usually conducted by telephone or on the Internet.
       If you knowingly and fraudulently conceal assets
       or make a false oath or statement under penalty of                                 In addition, after filing a bankruptcy case, you generally
       perjury—either orally or in writing—in connection                                  must complete a financial management instructional
       with a bankruptcy case, you may be fined,                                          course before you can receive a discharge. If you are
       imprisoned, or both.                                                               filing a joint case, both spouses must complete the
                                                                                          course.
       All information you supply in connection with a
       bankruptcy case is subject to examination by the                                   You can obtain the list of agencies approved to provide
       Attorney General acting through the Office of the                                  both the briefing and the instructional course from:
       U.S. Trustee, the Office of the U.S. Attorney, and                                 http://www.uscourts.gov/services-forms/bankruptcy/cre
       other offices and employees of the U.S.                                            dit-counseling-and-debtor-education-courses.
       Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
Make sure the court has your mailing address                                              http://www.uscourts.gov/services-forms/bankruptcy/cre
                                                                                          dit-counseling-and-debtor-education-courses.
The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals                                    If you do not have access to a computer, the clerk of
Filing for Bankruptcy (Official Form 101). To ensure                                      the bankruptcy court may be able to help you obtain the
that you receive information about your case,                                             list.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4
